                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                        CRIMINAL DOCKET NO.: 5:05CR9-V

UNITED STATES OF AMERICA              )
                                      )
           vs.                        )                     ORDER
                                      )
AL ANTONIO BELLAMY (9) and            )
TRAVIS DORAN RAMSEUR (21),            )
                Defendants.           )
_____________________________________ )

       THIS MATTER is before the Court on the Government’s Motion To Sever pursuant

to FED . R. CR IM . P. 14(a), filed February 23, 2006. (Document #468) According to the

Government, “evidence pertaining to homicides allegedly committed by defendants

Ramseur and Bellamy may be prejudicial to the remaining defendants who are pending

trial in the case of United States v. Eckles.”    For the reasons stated in the Government’s

motion, and in the interest of justice, these matters will be severed.

       IT IS, THEREFORE, ORDERED that, for purposes of trial, Defendants Bellamy and

Ramseur are hereby SEVERED from the remaining Defendants in 5:05CR9.



                                                 Signed: February 23, 2006




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